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       Attorneys for Plaintiffs
   6   DONALD LEO MELLEIN
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   7

   8
                                   UNITED STATES DISTRICT COURT
   9
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
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       DONALD LEO MELLEIN;                                )   No. 21-CV-06588
  12   PAULA MARGARITA VILLEGAS DE                        )
       MELLEIN,                                           )   PLAINTIFFS’ MOTION FOR
  13                                                      )   PRELIMINARY INJUNCTION FOR
                                    Plaintiffs,           )   ALL INVENTORIES ASSOCIATED
  14                                                      )   WITH BOX #224; PROPOSED
                                                          )   ORDER GRANTING INJUNCTIVE
  15                          v.                          )   RELIEF
                                                          )
  16   UNITED STATES OF AMERICA, ET AL.;                  )   Date: January 24, 2022
                                                          )   Time: 9:00 a.m.
  17                                                      )   Courtroom: 850, The Honorable R. Gary
                                    Defendants.           )   Klausner
  18                                                      )

  19

  20          TO:    THE CLERK OF THE ABOVE-ENTITLED COURT AND ALL PARTIES:

  21          PLEASE TAKE NOTICE that on January 24, 2022, Plaintiffs DONALD LEO MELLEIN

  22   and PAULA MARGARITA VILLEGAS DE MELLEIN through their attorneys of record, NINA

  23   MARINO and JENNIFER LIESER, will and hereby do move this Court for a preliminary

  24   injunction requiring Defendant United States of America to produce all video,

  25   photographic, written or otherwise memorialized inventories of Plaintiffs' safe deposit

  26   box number 224 previously housed at U.S. Private Vaults, Inc. (“USPV”).

  27          This motion is made following the conference of counsel pursuant to L.R. 7-3 and is based

  28   on this Notice of Motion and Motion, the Memorandum of Points and Authorities, the files and

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   1   records in this action, and any other evidence that may be presented at or before the hearing on

   2   this matter.

   3
       DATED: December 20, 2021                           Respectfully submitted,
   4                                                      KAPLAN MARINO, PC
   5
                                                          /s/ Nina Marino
   6                                                      ________________________
                                                          NINA MARINO
   7                                                      JENNIFER LIESER
                                                          Attorneys for Plaintiffs
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                                                          DONALD LEO MELLEIN
   9                                                      PAULA MARGARITA VILLEGAS de
                                                          MELLEIN
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   1                         MEMORANDUM OF POINTS AND AUTHORITIES

   2       I.        INTRODUCTION

   3             In its motion to dismiss Plaintiffs’ Complaint, the United States (“the government”) argues

   4   that Plaintiffs’ Fourth Cause of Action for an order requiring disclosure of all inventories of Box

   5   #224 should be dismissed because the request is for a specific remedy and thus akin to injunctive

   6   relief. (Gov. Mo. to Dismiss at 13.) To the extent the government is correct in its position, Plaintiffs

   7   seek a preliminary injunction ordering the United States to produce to Plaintiffs and this Court all

   8   video, photographic, written or otherwise memorialized inventories of Box #224 in relation to the
   9   search at U.S. Private Vaults, Inc. (“USPV”) and the subsequent inventory search of all nests of
  10   safe deposit boxes located therein. Despite Plaintiffs’ best efforts to resolve this matter outside of
  11   court by obtaining copies of inventories related to Box #224, the United States has tactically
  12   refused to provide or even acknowledge the existence of inventories presumably in an effort to
  13   skirt liability or exposure of its misconduct. (See Lieser Decl. ¶¶ 2-4.)
  14       II.       ARGUMENT
  15             To obtain a preliminary injunction, the moving party must show: (1) a likelihood of success
  16   on the merits; (2) a likelihood of irreparable harm to the moving party in the absence of preliminary
  17   relief; (3) that the balance of equities tips in favor of the moving party; and (4) that an injunction
  18   is in the public interest. Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). “When

  19   the government is a party, the last two factors (equities and public interest) merge.” E. Bay

  20   Sanctuary Covenant v. Biden, 993 F.3d 640, 668 (9th Cir. 2021) (citation omitted). The court may

  21   also apply a sliding scale test, whereby the elements of the Winter test are balanced “so that a

  22   stronger showing of one element may offset a weaker showing of another.” Alliance for the Wild

  23   Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). The moving party has the burden of

  24   persuasion. Hill v. McDonough, 547 U.S. 573, 584 (2006).

  25             A. Likelihood of success on the merits.

  26             In its Motion to Dismiss, the government, for the first time, indicated that it still possesses

  27   47 of Plaintiffs’ 110 one-ounce gold coins but that that was all it ever possessed. (Gov. Mo. to

  28   Dismiss at 3.) The government neither timely sought forfeiture of these gold coins nor timely
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   1   contacted Plaintiffs to arrange for their return. They just magically appeared some nine months

   2   after the initial raid on USPV and only after Plaintiffs were forced to file a lawsuit for return of

   3   their property. The government’s behavior, as further detailed in both Plaintiffs’ Complaint (Dkt.

   4   No. 1) and in their Opposition to the Government’s Motion to Dismiss (concurrently filed

   5   herewith) calls into question its veracity, accountability to the Magistrate Judge in its

   6   representation regarding their inventorying process during the raid on USPV (see Affidavit, Dkt.

   7   No. 29-4 at 84: 19-21 (the FBI will “follow their written inventory policies to protect their agencies

   8   from claims of theft or damage to the contents of the boxes”), and adherence to statutory law on
   9   forfeiture. See 18 U.S.C. § 983.
  10          Despite these grave missteps, the government expects Plaintiffs and this Court to believe
  11   that the FBI only ever seized 47 gold coins from Plaintiffs’ box and only ever possessed 47 of
  12   Plaintiffs’ gold coins. 1 (Gov. Opp. at 3, Zellhart Decl., ¶ 2.) Rather than produce the inventories
  13   to support this representation, the government has repeatedly rebuffed Plaintiffs’ efforts to obtain

  14   any sort of video, photographic or written inventories prepared in connection with the search on

  15   USPV. It is clear, based on the government’s actions – or lack of action – that something is amiss. 2

  16   Something has happened to the remainder of Plaintiffs’ gold coins making it likely that they will

  17   succeed on the merits of at least one of their causes of action either now or at a later time after

  18   Plaintiffs exhaust their administrative remedies in connection with their Federal Tort Claim Act

  19   Cause of Action. But Plaintiffs need to ascertain exactly what happened to their property and can

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         On December 20, 2021, counsel for Plaintiffs retrieved 27 Canadian maple leaf gold coins and 20
  21   American Eagle gold coins. (Lieser Decl. ¶ 5, Ex. B.) The authenticity of these gold coins has not yet
       been verified. (Id.) Still unaccounted for are three Canadian maple leaf gold coins and 60 American
  22   Eagles. (Id.) When counsel inquired about additional gold coins, FBI agent Phyllis Mclan, spelling
       uncertain, who was accompanied by Agent Lesley Buchan, informed counsel, although not verbatim,
  23   that the FBI was still in the process of reviewing the inventory photos and that it would be helpful to
       know the composition of the additional unaccounted-for gold coins so that they could look for them.
  24   (Id.) Shortly thereafter, counsel emailed Agent Lesley Buchan the composition of the outstanding
       gold coins (three Canadian maples and 60 American Eagles). (Id., Ex. C.)
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       2
         Plaintiffs’ claims are not unique. Counsel for Plaintiffs also represent another boxholder whom
  26   the FBI attributed an additional $239,200 to their box which was not theirs. (Lieser Decl., ¶ 6.)
       Counsel also spoke with Robert Johnson, counsel to class action litigant-boxholders in Case No.
  27   21-cv-04405, who informed counsel that one of his clients is also missing approximately $2,000
       in cash. (Lieser Decl., ¶ 7.) And Linda R. also filed suit against the United States for her 40
  28   missing gold coins. See In Re Search and Seizure of Box No. 8309 at U.S. Private Vaults, Case
       No. 21-cv-03554. (Lieser Decl., ¶ 8.)
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   1   only do so once they are able to review any and all inventories of Box #224.

   2                 B. Irreparable harm to Plaintiffs in the absence of preliminary relief.

   3                 Without any and all video, photographic, written or otherwise memorialized inventories of

   4   Box #224, Plaintiffs have no alternate means of determining what happened to their property and

   5   thus who they should seek proper redress from. Is it the FBI as a department? A rogue agent? Did

   6   the loss occur because of misconduct? Or sloppiness? The government alleges it doesn’t have the

   7   remainder of Plaintiffs’ property nor did it ever seize more than 47 gold coins from Plaintiffs’ box.

   8   Is this true? Plaintiffs cannot answer these questions without the inventories, putting Plaintiffs at
   9   risk of losing all their causes of action alleged in their Complaint and worse, their retirement and
  10   savings for their son that they worked their entire lives for. (See Complaint, ¶¶ 27-36 (Dkt. No.
  11   1).)
  12                 C. The balance of equities tip in favor of relief and an injunction is in the public’s
  13                    interest.
                     Certainly no harm would befall the government if it disclosed all inventories of Box #224.
  14
       In obtaining its search and seizure warrant of USPV, the government already made clear to the
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       Magistrate Judge that it would be following its written inventory policies to “protect their agencies
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       from claims of theft or damage to the contents of the boxes” (USPV Affidavit, Dkt. No. 29-4 at
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       84: 19-21) and thus disclosing these inventories to combat such a claim here should create no
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       prejudice and would not be overly burdensome to the government in any way. The harm that would
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       befall Plaintiffs without the inventories, on the other hand, would be great. The public also has an
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       interest in keeping the government accountable and ensuring that it continues to act honestly and
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       with integrity, further tipping the scales in favor of disclosure.
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              III.      CONCLUSION
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                     For the foregoing reasons, Plaintiffs respectfully request that this Court grant a preliminary
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       injunction ordering the United States to disclose all video, photographic, written or otherwise
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       memorialized inventories of Box #224 in relation to the search at USPV and the subsequent
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       inventory search of all nests of safe deposit boxes located therein.
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       //
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                                                               5
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   1   DATED: December 20, 2021                        Respectfully submitted,
                                                       KAPLAN MARINO, PC
   2

   3                                                   /s/ Nina Marino
                                                       ________________________
   4                                                   NINA MARINO
                                                       JENNIFER LIESER
   5                                                   Attorneys for Plaintiffs
                                                       DONALD LEO MELLEIN
   6
                                                       PAULA MARGARITA VILLEGAS de
   7                                                   MELLEIN

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             MOTION FOR PRELIMINARY INJUNCTION FOR ALL INVENTORIES ASSOCIATED WITH BOX #224
